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 6                           UNITED STATES DISTRICT COURT
 7                                DISTRICT OF NEVADA
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 9   RONALD O’NEAL CALVIN,
10          Petitioner,                                 Case No. 3:08-CV-00033-LRH-(RAM)
11   vs.                                                ORDER
12   E. K. MCDANIELS, et al.,
13          Respondents.
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15          Petitioner has submitted a letter (#8), in which he asks for additional time to pay the filing
16   fee. The Court grants his request, but with a note. Petitioner has shown that he regularly receives
17   deposits into his inmate account, that he just as regularly drains his account with purchases from the
18   prison store, and that he had sufficient funds to pay the filing fee when he submitted his financial
19   certificate and account statement (#4). When Petitioner receives his next deposit, he needs to ensure
20   that he pays the filing fee before spending his money.
21          IT IS THEREFORE ORDERED that Petitioner’s request for an extension of time (#8) is
22   GRANTED. Petitioner shall have thirty (30) days from the date on which this Order is entered to
23   pay the filing fee. No further extensions will be granted.
24          DATED this 2nd day of July, 2008.
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26                                                                _________________________________
                                                                   LARRY R. HICKS
27                                                                 UNITED STATES DISTRICT JUDGE
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